               Case 2:24-cv-00108-JCC Document 49 Filed 09/10/24 Page 1 of 2




                                                        THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    SLOAN STANLEY, et al.,                                   CASE NO. C24-0108-JCC
10                              Plaintiffs,                    ORDER
11                      v.

12    KING COUNTY, et al.,

13                              Defendants.
14

15          This matter comes before the Court sua sponte. On August 8, 2024, the Court dismissed
16   Plaintiffs’ federal claims and declined to exercise supplemental jurisdiction over the remaining
17   state law claims. (See Dkt. No. 47). The Court then granted Plaintiffs leave to file an amended
18   complaint within 30 days. (Id. at 11.) The Court further indicated that if Plaintiffs failed to file an
19   amended complaint, the Court would enter judgment. (Id.) To date, Plaintiffs have not filed an
20   amended complaint. Accordingly, Plaintiffs’ complaint (Dkt. No. 1) is DISMISSED without
21   prejudice.
22   //
23   //
24   //
25   //
26   //


     ORDER
     C24-0108-JCC
     PAGE - 1
              Case 2:24-cv-00108-JCC Document 49 Filed 09/10/24 Page 2 of 2




 1          DATED this 10th day of September 2024.




                                                     A
 2

 3

 4
                                                     John C. Coughenour
 5                                                   UNITED STATES DISTRICT JUDGE
 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     ORDER
     C24-0108-JCC
     PAGE - 2
